                   Case 20-10553-CSS              Doc 52      Filed 03/09/20         Page 1 of 37




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           ) Chapter 11
                                                                     )
    ART VAN FURNITURE, LLC, et al.,1                                 ) Case No. 20-10553 (CSS)
                                                                     )
                                       Debtors.                      ) (Joint Administration Requested)
                                                                     )

               DEBTORS’ EMERGENCY MOTION FOR ENTRY OF INTERIM AND
                  FINAL ORDERS (I) APPROVING PROCEDURES FOR STORE
                CLOSING SALES, (II) AUTHORIZING CUSTOMARY BONUSES TO
             EMPLOYEES OF CLOSING STORES, (III) AUTHORIZING ASSUMPTION
              OF THE CONSULTING AGREEMENT UNDER §§ 363 AND 365 OF THE
             BANKRUPTCY CODE, (IV) AUTHORIZING THE DEBTORS TO RETAIN
              CERTAIN CONSULTANT ENTITIES AS SPECIAL ASSET DISPOSITION
                 ADVISORS TO THE DEBTORS PURSUANT TO §327(A) OF THE
                 BANKRUPTCY CODE AND (V) GRANTING RELATED RELIEF

             The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state as follows in support of this motion (this “Motion”):2

                                                  Relief Requested

             1.    The Debtors seek entry of interim and final orders, substantially in the forms

attached hereto as Exhibit A and Exhibit B (respectively, the “Interim Order” and the “Final

Order”): (a) authorizing and approving, on an interim and final basis, store closing or similar


1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291); AVCE, LLC (2509);
      AVF Holdings I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC (3451); Levin Parent, LLC
      (8052); Art Van Furniture of Canada, LLC (9491); AV Pure Sleep Franchising, LLC (8968); AVF Franchising,
      LLC (6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort Mattress LLC (4463). The location
      of the Debtors’ service address in these chapter 11 cases is: 6500 East 14 Mile Road, Warren Michigan 48092.

2
      A detailed description of the Debtors and their business, and the facts and circumstances supporting the Debtors’
      chapter 11 cases, are set forth in greater detail in the Declaration of David Ladd, Executive Vice President and
      Chief Financial Officer of Art Van Furniture, LLC, in Support of Chapter 11 Petitions and First Day Motions
      (D.I. 12) (the “First Day Declaration”) filed contemporaneously with the Debtors’ voluntary petitions for relief
      filed under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) on March 8, 2020 (the
      “Petition Date”). Capitalized terms used but not otherwise defined in this Motion shall have the meanings given
      to them in the First Day Declaration.



13172884 v1
                 Case 20-10553-CSS               Doc 52        Filed 03/09/20         Page 2 of 37




themed sales (“Store Closings”) in accordance with the terms of the store closing sale procedures

(the “Store Closing Procedures,” attached as Exhibit 1 to Exhibit A hereto), with such sales to be

free and clear of all liens, claims, and encumbrances; (b) authorizing the Debtors to pay customary

bonuses to employees of the stores listed on Exhibit 2 to Exhibit B attached hereto (collectively,

the “Closing Stores”); (c) in accordance with sections 363 and 365 of the Bankruptcy Code,

authorizing the Debtors to assume that certain Consulting and Marketing Services Agreement,

dated as of March 5, 2020 (the “Consulting Agreement”), by and between Debtor AVF Holding

Company, Inc. and the following entities: Hilco Merchant Resources, LLC (“HMR”), Hilco IP

Services, LLC, d/b/a Hilco Streambank, Hilco Real Estate, LLC, Hilco Receivables, LLC (such

entities collectively, the “Hilco Consulting Entities”), Gordon Brothers Retail Partners, LLC

(“GBRP”), DJM Realty Services, LLC, d/b/a Gordon Brothers Real Estate, Gordon Brothers

Commercial & Industrial, LLC, Gordon Brothers Brands, LLC (such entities collectively the “GB

Consulting Entities”, and together with the Hilco Consulting Entities the “Consultant”), a copy of

which is attached as Exhibit 3 to Exhibit A hereto; (d) authorizing the Debtors to retain certain of

the entities comprising the Consultant that will be providing receivables collection (at the Debtors’

option) and intellectual property disposition services as special asset disposition advisors and

consultants to the Debtors, pursuant to Section 327(a) of the Bankruptcy Code3; and (e) granting

related relief. In addition, the Debtors request that the Court schedule a final hearing within

approximately 25 days of the commencement of these chapter 11 cases to consider entry of the

Final Order with respect to the relief sought in the Motion.




3
    The Consultant affiliated entities that will provide these specific asset disposition services are: Hilco IP Services,
    LLC, d/b/a Hilco Streambank, Hilco Receivables, LLC, Gordon Brothers Commercial & Industrial, LLC, Gordon
    Brothers Brands, LLC


                                                           2
13172884 v1
               Case 20-10553-CSS           Doc 52       Filed 03/09/20    Page 3 of 37




                                       Jurisdiction and Venue

        2.      The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012. The Debtors confirm their consent, pursuant to rule 7008 of the Federal Rules

of Bankruptcy Procedure (the “Bankruptcy Rules”) and rule 9013-1(f) of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware (the “Bankruptcy Local Rules”), to the entry of a final order by the Court in connection

with this Motion to the extent that it is later determined that the Court, absent consent of the parties,

cannot enter final orders or judgments in connection herewith consistent with Article III of the

United States Constitution.

        3.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        4.      The statutory bases for the relief requested herein are sections 105(a), 363, 365 and

554(a) of title 11 of the United States Code (the “Bankruptcy Code”), Bankruptcy Rules 2002,

6003, and 6004, and Bankruptcy Local Rule 9013-1(m).

                                         The Store Closings

I.      The Store Closing Decisions and the Consulting Agreement

        5.      As described more fully in the First Day Declaration, in the wake of extreme market

conditions and faced with limited liquidity, the Debtors have commenced these chapter 11 cases

to effectuate a going-concern sale of approximately 44 stores and two distribution centers

operating under the Wolf and Levin banners and to wind down their remaining store locations and

other operations through a going-out-of-business sales process. Given continuously declining

profitability and operational challenges over the past three years, and despite the best efforts of the

Company and its advisors to secure the capital necessary to preserve the entire business as a going

                                                    3
13172884 v1
                Case 20-10553-CSS             Doc 52        Filed 03/09/20       Page 4 of 37




concern, the Company is simply unable to meet its financial obligations. The Company has worked

in concert with its secured lenders to develop a budget for the use of cash collateral to facilitate an

expedited sale and orderly wind-down process that will maximize value and recoveries for

stakeholders in these cases.

        6.       In connection with the aforementioned wind-down process, prior to the Petition

Date the Debtors conducted a competitive process to engage an exclusive consultant(s) to provide

a wide range of asset disposition consulting and related services to assist in and facilitate the

Debtors’ planned wind-down efforts. During the course of that same proposal solicitation process,

Hilco and Gordon Brothers were engaged in parallel discussions with the Debtors’ prepetition term

loan lenders, FS KKR Capital Corp. and FS KKR Capital Corp. II (collectively, “KKR”)

concerning the status of the prepetition term loan debt (the “Term Loans”), and the prospects for

development of a creative consulting structure such that the Debtors’ estates and their various

stakeholders could be spared the burden of having to pay the types of consulting fees that are

customary for the types of asset disposition services required by the Debtors.

        7.       After arm’s-length and extensive negotiations, these discussions ultimately yielded

a series of agreements under which (a) the Debtors determined to engage the Consultant to provide

the full range of asset disposition consulting services required by the Debtors in respect of

merchandise inventories, fixed assets, receivables (subject to a Debtors’ option), and intellectual

property4, (b) HGB AVF Lending, LLC (“HGB”), an entity controlled by affiliates of Hilco and

Gordon Brothers, entered into an agreement with KKR under which HGB acquired KKR’s




4
    The Consulting Agreement presently provides that in addition to the consulting services described herein, the
    Debtors were to engage the Consultant to market and sell Debtors’ real estate holdings. Subsequent to execution
    of the Consulting Agreement, the Debtors and the Consultant agreed to exclude the real estate services from the
    scope of Consultant’s engagement.


                                                        4
13172884 v1
              Case 20-10553-CSS           Doc 52       Filed 03/09/20    Page 5 of 37




interests in the Term Loans (and as part of such transaction GBH agreed to share a portion of any

recovery, if any, it may later receive on account of the Term Loans), and (c) the Consultant

simultaneously agreed with the Debtors that the Consultant would NOT earn or be paid any

consulting or other fee or compensation from the Debtors or their estates, other than reimbursement

of certain out-of-pocket expenses incurred in connection with the conduct of the Store Closing

Sales, any such reimbursement being strictly in accordance with a budget agreed to by the Debtors

and the Debtors’ secured lenders.

        8.     Through this approach - whereby the Consultant’s only opportunity to realize any

compensation on account of the consulting services being provided under the Consulting

Agreement is through a recovery realized by its affiliates on account of the Term Loans (a portion

of which recovery, if any, will be shared with KKR) - the Debtors, in consultation with their

professionals and key stakeholders, determined that the above-described arrangement provided the

best framework for accomplishing the Debtors’ paramount goal of an orderly and efficient

liquidation of all assets. At the same time, this arrangement fully aligned the estates’ interests with

those of the Term Lender in achieving maximum realizable value for Debtors’ assets during the

wind-down process.

        9.     Based on an evaluation of the circumstances, the economic structure of the

Consulting Agreement, and the Consultant’s experience in conducting Store Closings on similar

timelines, the Debtors’ management, in consultation with the Debtors’ advisors, determined that

the Consultant provided the best and most competitive proposal.

        10.    Accordingly, by this Motion, the Debtors seek relief in two essential parts; first,

consistent with well-established precedent in this District, the Debtors seek – on an interim basis

–to assume the Consulting Agreement under sections 363 and 365 of the Bankruptcy Code, so that



                                                   5
13172884 v1
                Case 20-10553-CSS               Doc 52        Filed 03/09/20        Page 6 of 37




the HMR and GBRP, the Consultant-constituent entities that are providing the inventory and fixed

asset disposition consulting services under the Consulting Agreement, may continue their role as

the Debtors’ consultant in connection with the conduct of the Store Closings on a post-petition

basis without interruption; second, the Debtors seek to retain the remaining Consultant-constituent

entities that are providing the receivables, and intellectual property-related disposition consulting

services, pursuant to section 327 of the Bankruptcy Code. In connection with the foregoing, the

Debtors have determined, in the exercise of their business judgment, that (a) the continuation of

services by the Consultant is necessary for efficient large-scale execution of the Store Closings,

and the marketing and sale of the other Assets to maximize the value of the Assets being sold and

(b) any change or elimination of the engagement with the Consultant would significantly disrupt

the Debtors’ reorganization efforts and impair the value of the Assets.5 Further, the Store Closings

and the marketing and sale of the Assets are a critical component of the Debtors’ ability to

maximize value for all stakeholders, and assumption of the Consulting Agreement will allow the

Debtors to continue to conduct the Store Closings in an efficient, controlled manner that will

maximize value for the Debtors’ estates.

        11.      For the convenience of the Court and interested parties, a summary of the salient

terms of the Consulting Agreement is set forth below:6


5
    By this Motion, the Debtors’ seek approval of the conduct of the Sales at the Stores and the associated disposition
    of the Merchandise and the owned M&E in a manner consistent with customary practices in this jurisdiction and
    in jurisdictions throughout the country in connection with Store Closings. However, nothing in this Motion seeks
    approval of the Debtors’ assumption and assignment of any of their non-residential real property leases or
    executory contracts. To the extent that the Debtors’, through the services of the Consultant, find one or more
    buyers of the Real Estate Assets and/or the IP Assets, the Debtors’ would file one or more separate motions
    seeking approval of such asset sales on as expedited a basis as the circumstances and/or economics of such sale
    dictate.

6
    The following summary chart is for the convenience of the Court and parties in interest. To the extent there is
    any conflict between this summary and the Consulting Agreement, the Consulting Agreement shall govern in all
    respects. Any capitalized terms used in the summary chart but not defined therein are used as defined in the
    Consulting Agreement.


                                                          6
13172884 v1
              Case 20-10553-CSS         Doc 52        Filed 03/09/20         Page 7 of 37



              Term                                         Consultant Agreement

 Services Provided by   Services to be provided by Consultant include, among other things:
 Consultant
                           Provision of qualified Supervisors to supervise and assist the Debtors in its
                            conduct of the Sale;

                           Provision of oversight, supervision, and guidance with respect to the conduct of
                            the Sale and the liquidation and disposal of the Merchandise and the M&E;

                           Recommendation and implementation of appropriate point of purchase, point of
                            sale, and external advertising to effectively sell the Merchandise during the Sale
                            Term;

                           Advice regarding appropriate discounting of Merchandise, staffing levels for the
                            Stores, and appropriate deferred compensation and incentive programs for Store
                            Employees;

                           Other advice regarding and during the Sale;

                           Development of an advertising and marketing plan for the sale, auction, or other
                            disposition of the M&E;

                           Implementation of advertising and marketing as deemed necessary to maximize
                            the net recovery on the M&E;

                           Preparation for the sale of the M&E;

                           Developing a Strategic Plan with the Debtors for disposition of the Properties;

                           Subject to the Debtors’ exercise of the election under the Consulting Agreement,
                            collecting, settling, and otherwise resolving the Receivables on the Debtors’
                            behalf;

                           Collecting and securing available information regarding the Intellectual
                            Property;

                           Preparing marketing materials designed to advertise the availability of the
                            Intellectual Property for sale, assignment, license, or other disposition; and

                           Assisting the Debtors in connection with the transfer of the Intellectual Property
                            to the acquirer(s) who offer the highest or otherwise best consideration for the
                            Intellectual Property.

                           To the extent that the Consultant locates a purchaser of the Assets, other that the
                            Merchandise and the M&E, the Debtors (in consultation with the Secured
                            Lenders) shall file one or motion seeking approval of such underlying
                            transaction(s) on such notice (or Court approved shortened notice) as the terms
                            and the economics of such transactions dictate.

 Sale Term              The Store Closing began on March 6, 2020, and are to continue to no later than May
                        31, 2020; provided, however, absent the prior consent of the Debtors, the Sale shall
                        conclude in the Stores no later than April 30, 2020.



                                                  7
13172884 v1
                 Case 20-10553-CSS          Doc 52        Filed 03/09/20          Page 8 of 37



 Asset Marketing Period    The period commencing on the Sale Commencement Date through the earlier of (i)
                           the applicable Sale Termination Date for each of the Stores (or, with respect to any
                           Distribution Center(s), the last day of available occupancy for each such center, as
                           may be mutually agreed by the Debtors and the Consultant (in consultation with the
                           Secured Lenders); (ii) April 30, 2020; or (iii) such other earlier or extended date as
                           may be mutually agreed upon by the Debtors (in consultation with the Secured
                           Lenders) and the Consultant

 Sale Expenses             The Debtors shall be responsible for all Sale Expenses (including without limitation,
                           the Consultant Incurred Expenses). The Debtors, Consultant and Secured Lenders
                           have agreed on a pro forma budget relating to the Sale describing in reasonable detail
                           the projected Sale Expenses (the “Budget”) in the form and content annexed hereto
                           and made a part hereof as Exhibit B. The Budget may only be modified by mutual
                           agreement of the Debtors, the Consultant and the Secured Lenders. In connection
                           with the Sale and subject to the limitations set forth in the Budget as to the Consultant
                           Incurred Expenses, the Debtors shall be responsible for the payment of all expenses
                           incurred in connection with the Sale, including, without limitation, all Sale Expenses
                           (and Consultant shall not be responsible for any such expenses or Sale Expenses
                           except as expressly provided for in Section 11 below). Consultant Incurred Expenses
                           shall not exceed the aggregate line item amount of Consultant Incurred Expenses set
                           forth in the Budget without the prior written consent of the Debtors and Secured
                           Lenders, which consent shall not be unreasonably withheld, delayed or conditioned.
                           Subject to the limitations of the Sale Budget, the Debtors shall reimburse Consultant
                           for any reasonable and documented Consultant Incurred Expense on a weekly basis
                           in connection with the weekly Sale reconciliation provided for in Section 4 hereof
                           upon presentation of invoices and statements for such expenses. In addition, to the
                           extent that the Consultant anticipates that it, or the Debtors will incur any additional
                           out of pocket expenses in connection with the Services being provided by the
                           Consultant in relating to its provision of Services in connection with the marketing
                           and disposition of the other Assets, such expenses shall be subject to Supplemental
                           Expense Budget to be agreed to between the Debtors (in consultation with the
                           Secured Lenders) and the Consultant prior to such expenses being incurred.

 Consultant’s              In consideration of the Consultant providing the consulting, marketing and asset
 Compensation              disposition-related Services provided for herein, the Consultant shall not earn any
                           fee or other compensation from the Debtors, other than reimbursement of all
                           Consultant Incurred Expenses and such other Sale Expenses as may be advanced by
                           Consultant from time to time in the course of performing Services hereunder, in each
                           case limited to the amounts set forth in the Budget and at the times provided herein.
                           Any fees payable to Consultant shall be paid to Consultant by the Term Loan Lenders
                           from their recovery on account of their secured claim.

 Tracking of Proceeds of   The Debtors shall keep (i) a strict count of gross register receipts less applicable sales
 the Sales                 taxes, and (ii) cash reports of sales within each Store. Register receipts shall show
                           for each item sold the retail price (as reflected on Debtors’ books and records) for
                           such item, and the markdown or other discount granted by Consultant in connection
                           with such sale. The Debtors shall make all such records and reports available to
                           Consultant and the Secured Lenders during regular business hours upon reasonable
                           notice.

 Expenses Deposit          The Interim Approval Order and the Final Approval Order shall include approval on
                           the part of the Debtors to fund, and the Debtors shall thereafter promptly fund, to
                           Consultant $3,353,912 (the “Expense Deposit’). The Debtors shall be entitled to
                           apply the Expense Deposit to, or otherwise offset any portion of the Expense Deposit
                           against, any weekly reimbursement or other amount owing to Consultant under this


                                                      8
13172884 v1
               Case 20-10553-CSS           Doc 52         Filed 03/09/20        Page 9 of 37



                           Agreement prior to the Final Settlement; provided, however, at no time prior to the
                           Final Settlement shall the Expense Deposit be reduced below $1,000,000. Without
                           limiting any of Consultant’s other rights, Consultant may apply the Expense Deposit
                           to any unpaid obligation owing by the Debtors to Consultant under this Agreement.
                           Any portion of the Expense Deposit not used to pay amounts contemplated by this
                           Agreement shall be returned to Debtors (or their designee) within three (3) business
                           days following the Final Settlement.

 Debtors’ Employees        The Debtors and the Consultant shall cooperate to retain the employees of the
                           Debtors (including the Store Employees) to be utilized to conduct the Sale at the
                           Stores during the Sale Term, as such employees may be designated from time to time
                           by Consultant, in its discretion. Such employees shall remain employees of the
                           Debtors, and Consultant shall have no liability to such employees (including, without
                           limitation, all the Store Employees and any of Debtors’ other current or former
                           employees) of any kind or nature whatsoever, including, without limitation, with
                           respect to severance pay, termination pay, vacation pay, pay in lieu of reasonable
                           notice of termination, Worker Adjustment and Retraining Notification Act (“WARN
                           Act”) payments, or any other costs, expenses, obligations, or liabilities arising from
                           the Debtors’ employment or termination of such employees prior to, during, and
                           subsequent to the Sale Term. Other than advising Debtors that Consultant no longer
                           desires to utilize the services of any employee in connection with the sale or other
                           disposition of the Assets, including as part of the Sale, Consultant shall not have the
                           right to change the terms of employment of any employee(s).

 Fulfillment of Pre-Sale   Consistent with the relief sought in the Debtors’ companion Customer Programs
 Customer Orders           Motion, in addition to providing the forgoing Services in connection with the Sale,
                           the Consultant shall use commercially reasonable efforts to assist the Debtors in
                           fulfilling certain pre-Sale Commencement Date orders for which the Debtors has
                           received customer deposits (collectively, the “Pre-SCD Orders”).

                                   On-Hand Fulfillment Orders. Consultant shall assist the Debtors in
                                    fulfilling certain Pre-SCD Orders having an aggregate retail value of
                                    approximately $22 Million (collectively, the “On-Hand Fulfillment
                                    Orders”), on account of which orders (i) the Debtors has received customer
                                    deposits in the aggregate amount of $18 Million (collectively, the “On-
                                    Hand Customer Deposits”) and (ii) with respect to which all of the goods
                                    necessary to fulfill such orders are on-hand either at the Debtors’
                                    Distribution Centers or the Stores (collectively, the “On-Hand Fulfillment
                                    Merchandise”). As soon as reasonably practicable after the Sale
                                    Commencement Date, the Consultant shall assist the Debtors in earmarking
                                    the On-Hand Fulfillment Merchandise (and, to the extent necessary
                                    segregated by the Debtors) in order to fulfill and complete the On-Hand
                                    Fulfillment Orders. Consultant shall advise the Debtors in the development
                                    of efficient methods aimed at fulfilling the On-Hand Fulfillment Orders,
                                    and the Debtors and the Consultant shall use commercially reasonable
                                    efforts to deliver the On-Hand Fulfillment Merchandise as promptly as
                                    practicable, giving due consideration to the Debtors’ existing
                                    distribution/fulfillment capabilities. Any usual and customary costs and
                                    expenses incurred in connection with the fulfillment of any On-Hand
                                    Fulfillment Orders, including, but not limited to, labor, sales commissions
                                    and delivery (collectively, the “On-Hand Fulfillment Processing
                                    Expenses”), shall be borne exclusively by the Debtors, and the Consultant
                                    shall not be responsible for any such costs or expenses. Any funds received
                                    from customers on account of the On-Hand Fulfillment Orders, whether
                                    received prior to or after the Sale Commencement Date (including, without


                                                      9
13172884 v1
              Case 20-10553-CSS     Doc 52        Filed 03/09/20         Page 10 of 37



                              limitation, any On-Hand Customer Deposits), shall be retained by and/or
                              remitted to the Debtors. To the extent any such funds are received from the
                              customer in connection with the delivery of such On-Hand Fulfillment
                              Goods, those funds shall be delivered by the Consultant to the Debtors on a
                              weekly basis as part of the weekly reconciliation contemplated by Section
                              4.2 hereunder. Subject to Section 7.5 hereof, the On-Hand Fulfillment
                              Merchandise shall be excluded from the definition of Merchandise
                              hereunder; provided, that any proceeds realized by the Debtors upon
                              fulfillment and completion of an On-Hand Fulfillment Order(s) in excess of
                              the applicable On-Hand Customer Deposit shall constitute Gross Proceeds
                              hereunder.

                             Back-Order Fulfillment Orders. Following the Sale Commencement Date,
                              Consultant shall also assist the Debtors in evaluating the status certain Pre-
                              SCD Orders (collectively, the “Back-Order Fulfillment Orders”), on
                              account of which orders (i) the Debtors has received customer deposits
                              (collectively, the “Back-Order Customer Deposits”) and (ii) with respect to
                              which the goods necessary to fulfill such orders are not on-hand either at
                              the Debtors’ Distribution Centers or the Stores (collectively, the “Back-
                              Order Fulfillment Merchandise”). To the extent that a Back-Order
                              Fulfillment Order(s) can be filled by the Debtors within a reasonable time
                              after the Sale Commencement Date, the Debtors and the Consultant shall
                              work together to implement a protocol for fulfillment of such order(s). To
                              the extent that the Debtors is unable to fulfill a Back-Order Fulfillment,
                              such Back-Order Fulfillment Order shall be cancelled by the Debtors, and
                              the Debtors and the Consultant shall offer the affected customer the option
                              of either (i) a merchandise credit in the amount of such customer’s
                              respective Back-Order Customer Deposit (the “Cancelled Back-Order
                              Merchandise Credit”), which Cancelled Back-Order Merchandise Credit
                              must be used by the affected customer no later than April 15, 2020; or (ii)
                              filing a claim in the Debtors’ bankruptcy case for the full amount of such
                              customer’s Back-Order Customer Deposit.

                             If a customer cancels a Pre-SCD Order, or refuses to accept
                              completion/delivery of either On-Hand Fulfillment Merchandise or a Back-
                              Order Fulfillment Order (where the goods become available), the subject
                              the On-Hand Fulfillment Merchandise, Back-Order Fulfillment
                              Merchandise, as the case may be, attributable to such cancelled Pre-SCD
                              Orders, shall thereupon constitute Merchandise and be included in the Sale,
                              and the affected customer can file a claim in the bankruptcy case for the full
                              amount of such customer’s deposit.

                             During the Sale Term, the Debtors shall provide, and continue to provide
                              through the Sale Term, Consultant with all reports reasonably requested by
                              Consultant with respect to the status of all Pre-SCD Orders.

 Additional Consultant       In connection with the Sale, and subject to compliance with applicable law
 Goods                        (or if and when applicable, the Approval Orders), Consultant shall have the
                              right, at Consultant’s sole cost and expense, to supplement the Merchandise
                              in the Sale with additional goods procured by Consultant which are of like
                              kind, and no lesser quality to the Merchandise (“Additional Consultant
                              Goods”). The Additional Consultant Goods shall be purchased by
                              Consultant as part of the Sale, and delivered to the Stores (or direct shipped
                              to customers) at Consultant’s sole cost and expense (including, without
                              limitation, all acquisition costs, sales commissions, credit card processing


                                              10
13172884 v1
              Case 20-10553-CSS     Doc 52        Filed 03/09/20         Page 11 of 37



                              fees, labor, freight and insurance relative to shipping and/or delivery of such
                              Additional Consultant Goods). Sales of Additional Consultant Goods shall
                              be run through Debtors’ point-of-sale systems; provided, however, that
                              Consultant shall mark the Additional Consultant Goods using either a
                              “dummy” SKU or department number, or in such other manner so as to
                              distinguish the sale of Additional Consultant Goods from the sale of
                              Merchandise. Consultant and Debtors shall also cooperate so as to ensure
                              that the Additional Consultant Goods are marked in such a way that a
                              reasonable consumer could identify the Additional Consultant Goods as
                              non-Debtors goods. Additionally, Consultant shall provide signage in the
                              Stores notifying customers that the Additional Consultant Goods have been
                              included in the Sale. Absent the Debtors’ written consent and subject to
                              Consultant’s agreement to reimburse Debtors for any associated expenses,
                              Consultant shall not use Debtors’ distribution centers for any Additional
                              Consultant Goods.

                             Consultant shall pay to the Debtors an amount equal to seven and one-half
                              percent (7.5%) of the aggregate Gross Proceeds, net only of sales taxes
                              collected in respect thereof, realized by Consultant from the sale of
                              Additional Consultant Goods (the “Additional Consultant Goods Fee”).
                              Consultant shall pay the Debtors any earned and accrued Additional
                              Consultant Goods Fee on a weekly basis as part of each weekly sale
                              reconciliation. Except for sales taxes associated with the sale of Additional
                              Consultant Goods and Debtors’ Additional Consultant Goods Fee, all
                              proceeds from the sale of Additional Consultant Goods shall be for the sole
                              and exclusive account of Consultant, and shall be remitted to Consultant in
                              connection with each weekly sale reconciliation. Consultant shall be
                              responsible for collecting and remitting sales taxes to the applicable taxing
                              authorities on account of sales of Additional Consultant Goods.

                             The Consultant, the Debtors, and the Secured Lenders intend that the
                              transactions relating to the Additional Consultant Goods are, and shall be
                              construed as, a true consignment from Consultant to Debtors in all respects
                              and not a consignment for security purposes. Subject solely to Consultant’s
                              obligations to pay to Debtors the Additional Consultant Goods Fee, at all
                              times and for all purposes the Additional Consultant Goods and their
                              proceeds shall be the exclusive property of Consultant, and no other person
                              or entity, including, without limitation, the Lenders and Secured Lenders,
                              shall have any claim against any of the Additional Consultant Goods or their
                              proceeds. The Additional Consultant Goods shall at all times remain subject
                              to the exclusive control of Consultant. In furtherance of the foregoing, the
                              Debtors acknowledge that the Additional Consultant Goods shall be
                              consigned to Debtors as a true consignment under Article 9 of the Uniform
                              Commercial Code (the “UCC”). The Consultant is hereby granted a first
                              priority security interest in and lien upon (i) the Additional Consultant
                              Goods and (ii) the Additional Consultant Goods proceeds (less any
                              Additional Consultant Goods Fee), and Consultant is hereby authorized to
                              file UCC financing statements and provide notifications to any prior
                              secured parties, including, but not limited to, the Secured Lenders.


                             The Debtors shall, at Consultant’s sole cost and expense, insure the
                              Additional Consultant Goods and, if required, promptly file any proofs of
                              loss with regard to same with the Debtors’ insurers. Consultant shall be
                              responsible for payment of any deductible (but only in relation to the


                                               11
13172884 v1
              Case 20-10553-CSS            Doc 52        Filed 03/09/20         Page 12 of 37



                                     Additional Consultant Goods) under any such insurance in the event of any
                                     casualty affecting the Additional Consultant Goods.

 Debtors’ Indemnification   The Debtors shall indemnify and hold the Consultant and its affiliates, and their
 Obligations                respective officers, directors, employees, agents and independent contractors
                            (collectively, “Consultant Indemnified Parties”), harmless from and against all
                            claims, demands, penalties, losses, liability or damage, including, without limitation,
                            reasonable attorneys' fees and expenses, directly or indirectly asserted against,
                            resulting from, or related to:

                                              (a)     Debtors’ material breach or material failure of or failure
                                     to comply with any of its agreements, covenants, representations or
                                     warranties contained herein or in any written agreement entered into in
                                     connection herewith;

                                               (b)      any failure of Debtors to pay to its employees any wages,
                                     salaries or benefits due to such employees during the Sale Term;

                                               (c)     any consumer warranty or products liability claims
                                     relating to any Merchandise;

                                              (d)      any liability or other claims asserted by customers, any of
                                     Debtors’ employees, or any other person against any Consultant
                                     Indemnified Party (including, without limitation, claims by employees
                                     arising under collective bargaining agreements, worker's compensation or
                                     under the “WARN Act”); except where due to the negligence or willful
                                     misconduct of Consultant or from a breach of the terms hereof by
                                     Consultant;

                                               (e)     any harassment or any other unlawful, tortious or
                                     otherwise actionable treatment of any employees, agents, or representatives
                                     of Consultant (including, without limitation, any Supervisors) by Debtors
                                     or any of Debtors’ employees, agents, or representatives (including, without
                                     limitation, any Debtors employees); and

                                               (f)       the negligence or willful misconduct of Debtors or any of
                                     its officers, directors, employees, agents or representatives.

 Consultant                 The Consultant shall indemnify and hold Debtors and its affiliates, and their
 Indemnification            respective officers, directors, employees, agents, lenders and independent
 Obligations                contractors (collectively, “Debtors Indemnified Parties”), harmless from and against
                            all claims, demands, penalties, losses, liability or damage, including, without
                            limitation, reasonable attorneys’ fees and expenses, directly or indirectly asserted
                            against, resulting from, or related to:

                                               (a)     Consultant’s material breach or material failure of or
                                     failure to comply with any of its agreements, covenants, representations or
                                     warranties contained herein or in any written agreement entered into in
                                     connection herewith;

                                              (b)      any harassment or any other unlawful, tortious or
                                     otherwise actionable treatment of any employees or agents of Debtors
                                     (including, without limitation, any Store Employees) by Consultant or any




                                                      12
13172884 v1
              Case 20-10553-CSS          Doc 52       Filed 03/09/20        Page 13 of 37



                                   of Consultant’s representatives (including, without limitation, any
                                   Supervisor);

                                           (c)       any claims by any party engaged by Consultant as an
                                   employee or independent contractor (including, without limitation, any
                                   Supervisor) arising out of such employment or engagement; except where
                                   due to the negligence or willful misconduct of Debtors or Debtors
                                   Indemnified Parties or from a breach of the terms hereof by Debtors; and

                                            (d)      the negligence or willful misconduct of Consultant or any
                                   of its officers, directors, employees, agents or representatives, or any
                                   Supervisor.




II.     Store Closing Procedures.

        12.    In connection with and in facilitation of the ongoing conduct of the store closing

sales, the Debtors further seek approval of the Store Closing Procedures, the form and substance

of which are consistent with the procedures utilized by debtors in this and many other jurisdictions

in connection with the similar such store closing processes.

        13.    As is customary, the Store Closing Procedures provide, among other things,

that: (a) all sales of Store Assets will be deemed free and clear of all liens, claims, interests, and

other encumbrances; (b) the Merchandise and the M&E (as each term is defined in the Consulting

Agreement) will be sold with the benefit of various marketing techniques and price markdowns to

promote efficient liquidation; and (c) certain unsold M&E and other Store assets that cannot be

promptly liquidated may be abandoned if and when the Debtors determine, in their business

judgment, that retaining, storing, or removing such assets would result in unnecessary expense

with little or no benefit to the estates. The Debtors seek approval of the Store Closing Procedures

to, among other things, provide local regulatory authorities and media in which the Store Closings

may be advertised with knowledge that the Debtors are conducting the Store Closings in

compliance with the Court’s order.




                                                   13
13172884 v1
              Case 20-10553-CSS          Doc 52     Filed 03/09/20      Page 14 of 37




        14.    The Debtors also respectfully request a waiver of any contractual restrictions that

could otherwise inhibit or prevent the Debtors from maximizing value for creditors through the

Store Closings. In certain cases, the contemplated Store Closings may be inconsistent with various

provisions of leases, subleases, or other documents with respect to the premises in which the

Debtors operate, including, without limitation, reciprocal easement agreements, agreements

containing covenants, conditions, and restrictions (including, without limitation, “go dark”

provisions and landlord recapture rights), or other similar documents or provisions.             Such

restrictions, unless waived, would hamper the Debtors’ ability to maximize value in selling their

inventory.

        15.    As set forth in the Store Closing Procedures, the Debtors also request that no entity,

including, without limitation, utilities, landlords, shopping center managers and personnel,

creditors, and all persons acting for or on the behalf of the foregoing parties shall interfere with or

otherwise impede the conduct of the Store Closings, nor institute any action against the Debtors in

any court (other than this Court) or before any administrative body that in any way directly or

indirectly interferes with, obstructs, or otherwise impedes the conduct of the Store Closings or the

advertising and promotion (including through the posting of signs) of the Store Closings.

        16.    The Debtors have determined, in the exercise of their business judgment and in

consultation with their advisors, that the Store Closing Procedures will provide the best, most

efficient, and most organized means of selling the Merchandise and the M&E to maximize the

value of the Debtors’ estates. The Debtors intend to facilitate the Store Closings using current

personnel at no increased cost (except as set forth herein), and estimate that, with perhaps a few

exceptions, the Stores Closings will be completed by no later than April 30, 2020, with May 31,

2020 being the outside Sale Termination Date at locations that the Debtors (in consultation with



                                                  14
13172884 v1
              Case 20-10553-CSS          Doc 52      Filed 03/09/20      Page 15 of 37




their secured lenders) and the Consultant agree generate a net positive return by continuing in the

month of May 2020.

III.    Liquidation Sale Laws and Dispute Resolution Procedures.

        17.    Certain states in which the Debtors operate stores have or may have licensing or

other requirements governing the conduct of store closing, liquidation, or other inventory clearance

sales, including, without limitation, state and local laws, statutes, rules, regulations, and ordinances

(the “Liquidation Sale Laws”). Liquidation Sale Laws may establish licensing, permitting, or

bonding requirements, waiting periods, time limits, and bulk sale restrictions and augmentation

limitations that would otherwise apply to the Store Closings. Such requirements hamper the

Debtors’ ability to maximize value in selling their inventory. Subject to the Court’s approval, the

Debtors intend to conduct the Store Closings in accordance with the Store Closing Procedures, and

to the extent such procedures conflict with the Liquidation Sale Laws, the Store Closing

Procedures should control.

        18.    To facilitate the orderly resolution of any disputes between the Debtors and any

Governmental Units (as defined in section 101(27) of the Bankruptcy Code) arising due to the

Store Closing Procedures and the alleged applicability of any Liquidation Sale Laws, the Debtors

respectfully request that the Bankruptcy Court authorize the Debtors to implement the following

dispute resolution procedures (the “Dispute Resolution Procedures”), on an interim and final basis:

               a.      Provided that the Store Closings are conducted in accordance with the terms
                       of the Interim Order or the Final Order, as applicable, and the Store Closing
                       Procedures, and in light of the provisions in the laws of many Governmental
                       Units (as defined in the Bankruptcy Code) that exempt court-ordered sales
                       from their provisions, the Debtors will be presumed to be in compliance
                       with any Liquidation Sale Laws and are authorized to conduct Store
                       Closings in accordance with the terms of the Interim Order or the Final
                       Order, as applicable, and the Store Closing Procedures without the necessity
                       of further showing compliance with any such Liquidation Sale Laws.



                                                  15
13172884 v1
              Case 20-10553-CSS      Doc 52     Filed 03/09/20      Page 16 of 37




               b.   Within three business days after entry of the Interim Order, the Debtors will
                    serve by email, facsimile, or first-class mail, copies of the Interim Order,
                    the proposed Final Order and the Store Closing Procedures on the
                    following: (i) the landlords for the Stores; (ii) the Attorney General’s office
                    for each state in which the Store Closings are being held; (iii) the county
                    consumer protection agency or similar agency for each county in which the
                    Store Closings are being held; (iv) the division of consumer protection for
                    each state in which the Store Closings are being held; (v) the chief legal
                    counsel for each local jurisdiction in which the Store Closings are being
                    held (collectively, the “Dispute Notice Parties”).

               c.   With respect to any additional Stores, within three business days after Court
                    authorization to close additional stores (each, an “Additional Closing Store
                    List”), the Debtors will serve by email, facsimile, or first-class mail, copies
                    of the Interim Order or Final Order, as applicable, and the Store Closing
                    Procedures on the Dispute Notice Parties. To the extent that there is a
                    dispute arising from or relating to the Sales, the Interim Order, or the
                    proposed Final Order, as applicable, the Store Closing Procedures, which
                    dispute relates to any Liquidation Sale Laws (a “Reserved Dispute”), the
                    Court shall retain exclusive jurisdiction to resolve the Reserved Dispute.
                    Any time within ten days following entry of the Interim Order or service of
                    any Additional Closing Store List, as applicable, any Governmental Unit
                    may assert that a Reserved Dispute exists by sending a notice (the “Dispute
                    Notice”) explaining the nature of the dispute to: (a) proposed counsel to the
                    Debtors, Benesch, Friedlander, Coplan & Aronoff LLP, 222 Delaware
                    Avenue, Suite 801, Wilmington, Delaware 19801, Attn: Gregory
                    Werkheiser, Michael J. Barrie, Jennifer R. Hoover, Kevin M. Capuzzi, and
                    John C. Gentile; (b) proposed special counsel to the Debtors, Montgomery
                    McCracken Walker & Rhoads LLP, 437 Madison Avenue, New York, NY
                    10022, Attn. Maura I. Russell; (c) the Office of The United States Trustee,
                    844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801,
                    Attn: Linda Richenderfer; (d) counsel to the administrative agent under the
                    Debtors' ABL loan facilities (i) Morgan, Lewis & Bockius LLP, One
                    Federal Street, Boston, Massachusetts 02110, Attn: Marjorie S. Crider, (ii)
                    Morgan, Lewis & Bockius LLP, 101 Park Avenue, New York, New York
                    10178, Attn: Jennifer Feldsher, and (iii) Burr & Forman LLP, 1201 N.
                    Market Street, Wilmington, Delaware 19801, Attn: J. Cory Falgowski; (e)
                    lead counsel to the Consultant, Riemer & Braunstein LLP, Times Square
                    Tower, Seven Times Square, Suite 2506, New York, New York 10036,
                    Attn: Steven E. Fox; (f) counsel to the Prepetition Term Loan Agent,
                    Greenberg Traurig, LLP, One International Place, Suite 2000, Boston, MA
                    02110, Attn: Jeffrey M. Wolf; and (g) counsel to any statutory committee
                    appointed in these chapter 11 cases. If the Debtors and the Governmental
                    Unit are unable to resolve the Reserved Dispute within 15 days after service
                    of the Dispute Notice, the Governmental Unit may file a motion with the
                    Court requesting that the Bankruptcy Court resolve the Reserved Dispute (a
                    “Dispute Resolution Motion”).

                                              16
13172884 v1
              Case 20-10553-CSS        Doc 52     Filed 03/09/20     Page 17 of 37




               d.     In the event that a Dispute Resolution Motion is filed, nothing in the Interim
                      Order or the Final Order, as applicable, shall preclude the Debtors, a
                      landlord, or any other interested party from asserting (i) that the provisions
                      of any Liquidation Sale Laws are preempted by the Bankruptcy Code, or
                      (ii) that neither the terms of the Interim Order or the Final Order nor the
                      conduct of the Debtors pursuant to the Interim Order or the Final Order
                      violates such Liquidation Sale Laws. Filing a Dispute Resolution Motion
                      as set forth herein shall not be deemed to affect the finality of the Interim
                      Order or the Final Order or to limit or interfere with the Debtors’ ability to
                      conduct or to continue to conduct the Store Closings pursuant to the Interim
                      Order or the Final Order, absent further order of the Court. Upon the entry
                      of the Interim Order or the Final Order, as applicable, the Court grants
                      authority for the Debtors to conduct the Store Closings pursuant to the
                      terms of the Interim Order or the Final Order, as applicable, the Store
                      Closing Procedures and to take all actions reasonably related thereto or
                      arising in connection therewith. The Governmental Unit will be entitled to
                      assert any jurisdictional, procedural, or substantive arguments it wishes
                      with respect to the requirements of its Liquidation Sale Laws or the lack of
                      any preemption of such Liquidation Sale Laws by the Bankruptcy Code.
                      Nothing in the Interim Order or the Final Order will constitute a ruling with
                      respect to any issues to be raised in any Dispute Resolution Motion.

               e.     If, at any time, a dispute arises between the Debtors and a Governmental
                      Unit as to whether a particular law is a Liquidation Sale Law, and subject
                      to any provisions contained in the Interim Order or the Final Order related
                      to the Liquidation Sale Laws, then any party to that dispute may utilize the
                      provisions of subparagraphs (c) and (d) above by serving a notice to the
                      other party and proceeding thereunder in accordance with those
                      subparagraphs. Any determination with respect to whether a particular law
                      is a Liquidation Sale Law shall be made de novo.

IV.     Fast Pay Laws.

        19.    Many states in which the Debtors operate have laws and regulations that require the

Debtors to pay an employee contemporaneously with his or her termination (the “Fast Pay Laws”

and, together with the Liquidation Sale Laws, the “Applicable State Laws”). These laws often

require payment to occur immediately or within a period of only a few days from the date such

employee is terminated.

        20.    The nature of the Store Closings contemplated by this Motion will result in a

substantial number of employees being terminated at or near the end of the Store Closings. To be


                                                17
13172884 v1
                Case 20-10553-CSS             Doc 52      Filed 03/09/20        Page 18 of 37




clear, the Debtors intend to pay their terminated employees as expeditiously as possible, under

normal payment procedures, and pursuant to applicable Court order.7 Moreover, the Debtors’

approved Cash Collateral Budget expressly contemplates the payment of employee wages in the

ordinary course during the Store Closings. The Debtors therefore believe that their current systems

will allow their employees to be paid expeditiously and in accordance with any Applicable State

Laws. However, given the number of employees who will likely be terminated during the Store

Closings, the Debtors request a waiver of compliance with the Applicable State Laws to the extent

that the Debtors’ payroll systems limit their ability to so comply.

V.       Store Closing Bonus Plan.

         21.      Through this Motion, the Debtors are requesting the authority, but not the

obligation, to pay bonuses (the “Store Closing Bonuses”) to store-level non-insider employees at

the Closing Stores who remain in the employ of the Debtors during the Store Closings (the “Store

Closing Bonus Plan”). The Debtors believe that the Store Closing Bonus Plan will motivate

employees during the Store Closings and will enable the Debtors to retain those employees

necessary to successfully complete the Store Closings.

         22.      The amount of the bonuses offered under the Store Closing Bonus Plan will vary

depending upon a number of factors, including the employee’s position with the Debtors and the

performance of the Closing Stores in which the relevant employees work.

         23.      The Debtors will set the amounts of the Store Closing Bonuses and eligible

employees in consultation with the Consultant, who typically utilizes such bonuses to retain




7
     The Debtors are seeking such relief pursuant to the Debtors’ Motion Seeking Entry of Interim and Final Orders
     (I) Authorizing, but not Directing, the Debtors to (A) Pay Prepetition Employee Wages, Salaries, Other
     Compensation, and Reimbursable Employee Expenses and (B) Continue Employee Benefits Programs and (II)
     Granting Related Relief, (the “Wages Motion”) filed contemporaneously herewith.


                                                       18
13172884 v1
                Case 20-10553-CSS              Doc 52       Filed 03/09/20         Page 19 of 37




employees and incentivize higher recoveries during store closing sales and are well-acquainted

with optimal methods for designing such bonus plans.8

         24.      The total aggregate cost of the Store Closing Bonus Plan will also vary depending

on how many Closing Stores are ultimately closed. If the Debtors were to close every Closing

Store, the aggregate amount of Store Closing Bonuses paid will be not more than approximately

$600,000, assuming one hundred percent of the performance targets were met during the Store

Closings at every Closing Store.

         25.      Providing such non-insider bonus benefits is critical to ensuring that key employees

that will be affected by the reduction in the Debtors’ work force due to the Store Closings will

continue to provide critical services to the Debtors during the ongoing Store Closing process. For

the avoidance of doubt, the Debtors do not propose to make any payment on account of Store

Closing Bonuses to any insiders.

         26.      Accordingly, the Debtors respectfully submit that the Store Closing Bonus Plan is

in the best interests of their estates and request that the Court authorize the payments under the

Store Closing Bonus Plan as a sound exercise of their business judgment.


                                                 Basis for Relief

I.        The Debtors Have a Valid Business Justification for the Store Closings.

         27.      Section 363(b)(1) of the Bankruptcy Code, which governs asset sales outside of a

debtor’s ordinary course of business, provides that “the trustee, after notice and a hearing, may

use, sell, or lease, other than in the ordinary course of business, property of the estate.”

11 U.S.C. § 363(b)(1). When selling assets outside of the ordinary course of business, a debtor



8
     The final terms of the Store Closing Bonus Plan are still being formulated in consultation with the Consultant.


                                                         19
13172884 v1
                Case 20-10553-CSS        Doc 52     Filed 03/09/20     Page 20 of 37




must articulate a valid business justification to obtain court approval. See, e.g., Myers v. Martin

(In re Martin), 91 F.3d 389, 395 (3d Cir. 1996) (citation omitted); In re Abbotts Dairies, Inc., 788

F.2d 143, 147-48 (3d Cir. 1986) (implicitly adopting the “sound business judgment” test of Comm.

of Equity Sec. Holders v. Lionel Corp. (In re Lionel Corp.), 722 F.2d 1063, 1070-71 (2d Cir.

1983)); In re Delaware & Hudson Ry, Co., 124 B.R. 169, 175–76 (D. Del. 1991) (concluding that

the Third Circuit adopted the “sound business judgment” test in the Abbotts Dairies decision).

When a debtor demonstrates a valid business justification for a decision, a strong presumption

arises “that in making [the] business decision the directors of a corporation acted on an informed

basis, in good faith and in the honest belief that the action taken was in the best interests of the

company.” Official Comm. of Subordinated Bondholders v. Integrated Res., Inc. (In re Integrated

Res., Inc.), 147 B.R. 650, 656 (S.D.N.Y. 1990) (holding that the Delaware business judgment rule

has “vitality by analogy” in chapter 11 cases, especially where the debtor is a Delaware

corporation).

        28.      Store closing or liquidation sales are a routine occurrence in chapter 11 cases

involving retail debtors. See, e.g., Ames Dept. Stores, 136 B.R. at 359 (noting that liquidation sales

are an important part of “overriding federal policy requiring [a] Debtor to maximize estate assets”).

As such, bankruptcy courts in this jurisdiction have approved similar store closing sales. See, e.g.,

In re Destination Maternity Corporation, No. 19-12256 (BLS) (Bankr. D. Del. Nov. 14, 2019); In

re Fred’s Inc., No. 19-11984 (CSS) (Bankr. D. Del. Sept. 27, 2019); In re Z Gallerie, LLC,

No. 19-10488 (LSS) (Bankr. D. Del. Apr. 9, 2019); In re Things Remembered, Inc., No. 19-10234




                                                  20
13172884 v1
               Case 20-10553-CSS              Doc 52      Filed 03/09/20        Page 21 of 37




(KG) (Bankr. D. Del. Feb. 28, 2019); In re Charming Charlie Holdings, Inc., No. 17-12906 (CSS)

(Bankr. D. Del. Jan. 13, 2017).9

        29.      Sufficient business justification exists to approve the proposed Store Closings

under section 363(b)(1) of the Bankruptcy Code. The Debtors, with the assistance of their

advisors, have determined that the Store Closings represent the best alternative to maximize

recoveries to the Debtors’ estates with respect to the Merchandise and the M&E and provide the

Debtors with much-needed liquidity. There are meaningful amounts of Merchandise, in the

aggregate, that will be monetized most efficiently and quickly through an orderly process

conducted in consultation with an experienced liquidation firm. Further, delay in commencing the

Store Closings would diminish the recovery tied to monetization of the Merchandise and the M&E

for several important reasons. Many of the Closing Stores fail to generate positive cash flow and

therefore are a significant drain on liquidity. As such, the Debtors will realize an immediate benefit

in terms of financial liquidity upon the sale of the Merchandise and the M&E and the termination

of operations at the Closing Stores. Further, uninterrupted and orderly Store Closings will allow

the Debtors to timely reject leases associated with the Closing Stores and, therefore, avoid the

accrual of unnecessary administrative expenses for rent and related costs. Suspension of the Store

Closings until entry of the Final Order may cause the Debtors to incur claims for rent at many of

these stores, creating a further drain on the Debtors’ liquidity.

        30.      Courts in this district and courts in other jurisdictions have approved sale guidelines

in chapter 11 cases on an interim basis. Importantly, a number of courts have granted retail debtors

first day authority to implement such procedures.                 See, e.g., In re Destination Maternity



9
    Because of the voluminous nature of the orders cited herein, such orders have not been attached to this Motion.
    Copies of these orders are available upon request to the Debtors’ proposed counsel.


                                                       21
13172884 v1
              Case 20-10553-CSS          Doc 52      Filed 03/09/20      Page 22 of 37




Corporation, No. 19-12256 (BLS) (Bankr. D. Del. Oct. 22, 2019) (approving procedures on an

interim basis); In re Fred’s, Inc., No. 19-11984 (CSS) (Bankr. D. Del. Sept. 11, 2019) (same); In

re Z Gallerie, LLC, No. 19-10488 (LSS) (Bankr. D. Del. Mar. 15, 2019) (same); In re Things

Remembered, Inc., No. 19-10234 (KG) (Bankr. D. Del. Feb. 7, 2019) (same) (In re Payless

Holdings LLC, No. 17-42267 (E.D. Mo. April 7, 2017) (same).

II.     The Court Should Approve the Sale of the Merchandise
        and the M&E Free and Clear of all Liens, Encumbrances,
        and Other Interests Under Bankruptcy Code Section 363(f).

        31.    The Debtors request approval to sell the Merchandise and the M&E on a final “as

is” basis, free and clear of any and all liens, claims, and encumbrances in accordance with

section 363(f) of the Bankruptcy Code.         A debtor in possession may sell property under

sections 363(b) and 363(f) “free and clear of any interest in such property of an entity other than

the estate” if any one of the following conditions is satisfied: (a) applicable non-bankruptcy law

permits sale of such property free and clear of such interest; (b) such entity consents; (c) such

interest is a lien and the price at which such property is to be sold is greater than the aggregate

value of all liens on such property; (d) such interest is in bona fide dispute; or (e) such entity could

be compelled, in a legal or equitable proceeding, to accept a money satisfaction of such interest.

11 U.S.C. § 363(f); see also Citicorp Homeowners Servs., Inc. v. Elliot (In re Elliot), 94 B.R. 343,

345 (E.D. Pa. 1988) (noting that since section 363(f) is written in the disjunctive, the court may

approve a sale free and clear if any one subsection is met). Moreover, the Third Circuit has

indicated that a debtor possesses broad authority to sell assets free and clear of liens. See In re

TWA Inc., 322 F.3d 283, 289 (3d Cir. 2003).

        32.    Although the term “any interest” is not defined in the Bankruptcy Code, the Third

Circuit has noted that the trend in modern cases is toward “a broader interpretation which includes



                                                  22
13172884 v1
              Case 20-10553-CSS           Doc 52     Filed 03/09/20    Page 23 of 37




other obligations that may flow from ownership of the property.” Folger Adam Security, Inc. v.

DeMatteis/MacGregor, JV, 209 F.3d 252, 258–59 (3d Cir. 2000). As the Fourth Circuit held in In

re Leckie Smokeless Coal Co., 99 F.3d 573, 581–82 (4th Cir. 1996) (cited with approval by the

Third Circuit in Folger Adam), the scope of section 363(f) is not limited to in rem interests in a

debtor’s assets. Thus, a debtor can sell its assets under section 363(f) “free and clear of successor

liability that otherwise would have arisen under federal statute.” Folger Adam, 209 F.3d at 258.

        33.     With respect to any other party asserting a lien, claim, or encumbrance against the

Merchandise and the M&E, the Debtors anticipate that they will be able to satisfy one or more of

the conditions set forth in section 363(f). In connection with the sale of the Merchandise and the

M&E , the Debtors propose that any liens, claims, and encumbrances asserted against the

Merchandise and the M&E be transferred to and attach to the amounts earned by the Debtors

under the Store Closings with the same force, effect, and priority as such liens currently have on

the Merchandise and the M&E .

III.    The Court Should Waive Compliance with Applicable
        State Laws and Approve the Dispute Resolution Procedures

        34.     The Debtors’ ability to conduct the Store Closings in accordance with the Store

Closing Procedures and without strict compliance with all Applicable State Laws is critical to the

Store Closings’ success. Although the Debtors intend to comply with state and local health and

safety laws and consumer protection laws in conducting the Store Closings, many Liquidation Sale

Laws require special and cumbersome licenses, waiting periods, time limits, and other procedures

for store closing, liquidation, or similar sales.

        35.     To eliminate the time, delay, and expense associated with the administrative

procedures necessary to comply with the Applicable State Laws, the Debtors propose the Store

Closing Procedures as a way to streamline the administrative burdens on their estates while still


                                                    23
13172884 v1
              Case 20-10553-CSS           Doc 52      Filed 03/09/20         Page 24 of 37




adequately protecting the broad and varied interests of both landlords and applicable governmental

agencies charged with enforcing any Liquidation Sale Laws that may apply to the Store Closings.

As such, the Debtors believe the Store Closing Procedures mitigate any concerns that their

landlords or governmental agencies may raise with respect to the Store Closings and, therefore,

the requested relief is in compliance with any applicable Liquidation Sale Laws.

        36.     The Debtors submit that there is strong support for granting them the authority to

not comply with the Liquidation Sale Laws. First, it is generally accepted that many state statutes

and regulations provide that, if a liquidation or bankruptcy sale is court-authorized, a company

need not comply with the Liquidation Sale Laws. See, e.g., Ark. Code Ann. § 4-74-103 (exempting

from the provisions of the chapter sales pursuant to any court order); Fla. Stat. Ann. 559.25(2)

(same); Ga. Code Ann. § 10-1-393(b)(24)(C)(iv) (same); 815 ILCS 350/3 (same); La. Rev. Stat.

Ann. § 51:43(1) (same); N.Y. Gen. Bus. Law § 584(a) (same); Or. Rev. Stat. Ann.

§ 646A.100(2)(b) (“‘Going out of business sale’ does not include a sale conducted by a bankruptcy

trustee.”); Tex. Bus. & Com. Code Ann. § 17.91(3) (exempting from subchapter sales conducted

pursuant to court order). Second, pursuant to section 105(a) of the Bankruptcy Code, the Court

has the authority to permit the Store Closings to proceed notwithstanding contrary Applicable State

Laws as it is essential to maximize the value of the Debtors’ business. Third, this Court will be

able to supervise the Store Closings because the Debtors and their assets are subject to this Court’s

exclusive jurisdiction. See 28 U.S.C. § 1334. As such, creditors and the public interest are

adequately protected by notice of this Motion and the ongoing jurisdiction and supervision of the

Court because the Debtors are only seeking interim relief at the outset of these cases, and parties

in interest will be able to raise any further issues at the final hearing.




                                                   24
13172884 v1
              Case 20-10553-CSS         Doc 52     Filed 03/09/20      Page 25 of 37




        37.    Further, bankruptcy courts have consistently recognized, with limited exception,

that federal bankruptcy law preempts state and local laws that contravene the underlying policies

of the Bankruptcy Code. See Belculfine v. Aloe (In re Shenango Group. Inc.), 186 B.R. 623, 628

(Bankr. W.D. Pa. 1995) (“Trustees and debtors-in-possession have unique fiduciary and legal

obligations pursuant to the bankruptcy code. . . . [A] state statute [] cannot place burdens on [a

debtor] where the result would contradict the priorities established by the federal bankruptcy

code.”), aff’d, 112 F.3d 633 (3d Cir. 1997).

        38.    Courts in some jurisdictions have found that preemption of state law is not

appropriate if the laws deal with public health and safety. See Baker & Drake. Inc. v. Pub. Serv.

Comm’n of Nev. (In re Baker & Drake. Inc.), 35 F.3d 1348, 1353–54 (9th Cir. 1994) (holding that

Bankruptcy Code did not preempt state law prohibiting taxicab leasing that was promulgated in

part as public safety measure). However, preemption is appropriate where, as is the case here, the

only state laws involved concern economic regulation rather than the protection of public health

and safety. See In re Baker & Drake. Inc., 35 F.3d at 1353 (finding that “federal bankruptcy

preemption is more likely . . . where a state statute is concerned with economic regulation rather

than with protecting the public health and safety”).

        39.    Under the circumstances of these chapter 11 cases, enforcing the strict requirements

of the Liquidation Sale Laws would undermine the fundamental purpose of section 363(b) of the

Bankruptcy Code by placing constraints on the Debtors’ ability to maximize estate assets for the

benefit of creditors. Accordingly, authorizing the Store Closings without the delays and burdens

associated with obtaining various state and local licenses, observing state and local waiting periods

or time limits, and/or satisfying any additional requirements with respect to advertising and similar

items is necessary and appropriate. The Debtors do not seek a general waiver of all state and local



                                                 25
13172884 v1
              Case 20-10553-CSS        Doc 52     Filed 03/09/20    Page 26 of 37




law requirements, but only those that apply specifically to retail liquidation sales. Indeed, the

requested waiver is narrowly tailored to facilitate the successful consummation of the Store

Closings. Moreover, the Debtors will comply with applicable state and local public health and

safety laws, and applicable tax, labor, employment, environmental, and consumer protection laws,

including consumer laws regulating deceptive practices and false advertising. Finally, the Dispute

Resolution Procedures provide an ordered means for resolving any disputes arising between the

Debtors and any Governmental Units with respect to the applicability of any Liquidation Sale

Laws, and should therefore be approved.

        40.    Further, this Court has recognized that the Bankruptcy Code preempts certain state

laws and have granted relief similar to that requested herein. See, e.g., In re Coldwater Creek,

No. 14-10867 (BLS) (Bankr. D. Del. May 7, 2014) (stating that debtors were authorized to conduct

store closing sales under the terms of the order “without the necessity of further showing

compliance” with liquidation laws); In re Boscov’s, No. 08-11637 (KG) (Bankr. D. Del. Aug. 15,

2008) (ordering that “[g]overnmental units shall not fine, assess or otherwise penalize Debtors or

Agent (or any of the landlords of the Closing Stores) for conducting or advertising the Sales in a

manner inconsistent with Liquidation Sales Laws, provided that the Sales are conducted and

advertised in compliance with this Order”); In re Goody’s Family Clothing, Inc., No. 08-11133

(CSS) (Bankr. D. Del. June 13, 2008) (ordering that the “Store Closing Sales at the Closing Stores

shall be conducted by the Debtors and the Store Closing Agent without the necessity of compliance

with any federal, state or local statute or ordinance, lease provision or licensing requirement

affecting store closing, ‘going out of business’, liquidation or auction sales, or affecting

advertising, including signs, banners, and posting of signage, other than Safety Laws and General

Laws”).



                                                26
13172884 v1
              Case 20-10553-CSS          Doc 52     Filed 03/09/20      Page 27 of 37




IV.     The Court Should Waive Compliance with any Restriction
        in the Leases and Approve the Store Closing Procedures

        41.    Certain of the Debtors’ leases governing the premises of the stores subject to any

Store Closings may contain provisions purporting to restrict or prohibit the Debtors from

conducting store closing, liquidation, or similar sales. Such provisions have been held to be

unenforceable in chapter 11 cases as they constitute an impermissible restraint on a debtor’s ability

to properly administer its reorganization case and maximize the value of its assets under

section 363 of the Bankruptcy Code. See Ames Dep’t Stores, 136 B.R. at 359 (deciding that

enforcement of such lease restrictions would “contravene overriding federal policy requiring

debtor to maximize estate assets. . . .”); In re R. H., Macy and Co. Inc., 170 B.R. 69, 73–74 (Bankr.

S.D.N.Y. 1994) (holding that the lessor could not recover damages for breach of a covenant to

remain open throughout the lease term, because the debtor had a duty to maximize the value to the

estate and the debtor fulfilled this obligation by holding a store closing sale and closing the store);

In re Tobago Bay Trading Co., 112 B.R. 463, 467-68 (Bankr. N.D. Ga., 1990) (finding that a

debtor’s efforts to reorganize would be significantly impaired to the detriment of creditors if lease

provisions prohibiting a debtor from liquidating its inventory were enforced); In re Lisbon Shops,

Inc., 24 B.R. 693, 695 (Bankr. E.D. Mo. 1982) (holding restrictive lease provision unenforceable

in chapter 11 case where debtor sought to conduct a liquidation sale).

        42.    This Court has long held that restrictive lease provisions affecting store liquidation

sales in chapter 11 cases are unenforceable. See, e.g., In re Destination Maternity Corporation,

No. 19-12256 (BLS) (Bankr. D. Del. Oct. 22, 2019) (ordering “the sale of the Store Closure Assets

shall be conducted by the Debtors and the Consultant notwithstanding any restrictive provision of

any lease, sublease, license, reciprocal easement agreement, restrictive covenant, or other

agreement relative to occupancy affecting or purporting to restrict the conduct of the Store


                                                  27
13172884 v1
              Case 20-10553-CSS         Doc 52       Filed 03/09/20   Page 28 of 37




Closings or the Sales”); In re Coldwater Creek, Case No. 14-10867 (BLS) (Bankr. D. Del. May 7,

2014) (ordering that store closing sales be conducted without the further need for compliance with,

among other things, lease provisions); In re Boscov’s, Case No. 08-11637 (KG) (Bankr. D. Del.

Aug. 15, 2008) (same); In re Goody’s Family Clothing, Inc., Case No. 08-11133 (CSS) (Bankr. D.

Del. June 13, 2008) (same); In re Linens Holding Co., Case No. 08-10832 (CSS) (Bankr. D. Del.

May 30, 2008) (same).

        43.    Thus, to the extent that such provisions or restrictions exist in any of the leases of

the stores subject to the Store Closings, the Debtors request that the Court authorize the Debtors

conduct the Store Closings without reference to any such restrictive provisions or interference by

any landlords or other persons affected, directly or indirectly, by the Store Closings.

V.      The Court Should Approve the Abandonment of Certain Property
        in Connection with Any Liquidation Sales and Lease Rejections

        44.    After notice and a hearing, a debtor “may abandon any property of the estate that

is burdensome to the estate or that is of inconsequential value and benefit to the estate.” 11 U.S.C.

§ 554(a); see also Hanover Ins. Co. v. Tyco Indus., Inc., 500 F.2d 654, 657 (3d Cir. 1974) (stating

that a trustee “may abandon his claim to any asset, including a cause of action, he deems less

valuable than the cost of asserting that claim”).

        45.    The Debtors are seeking to sell all M&E remaining in the Closing Stores. However,

the Debtors may determine that the costs associated with holding or selling certain property or

M&E exceeds the proceeds that will be realized upon its sale or that such property is not sellable

at all. In such event, the property is of inconsequential value and benefit to the estates and/or may

be burdensome to retain.

        46.    To maximize the value of the Debtors’ assets and to minimize the costs to the

estates, the Debtors respectfully request authority to abandon any of their remaining M&E or other


                                                    28
13172884 v1
              Case 20-10553-CSS          Doc 52      Filed 03/09/20      Page 29 of 37




property located at any of the Closing Stores without incurring liability to any person or entity.

The Debtors further request that the landlord of each Closing Store with any abandoned M&E or

other property be authorized to dispose of such property without liability to any third parties.

        47.     Notwithstanding the foregoing, the Debtors will utilize all commercially reasonable

efforts to remove or cause to be removed any confidential or personal identifying information

(which means information that, alone or in conjunction with other information, identifies an

individual, including, but not limited to, an individual’s name, social security number, date of birth,

government-issued identification number, account number, and credit or debit card number) in any

of the Debtors’ hardware, software, computers, or cash registers or similar equipment that are to

be sold or abandoned.

VI.     The Store Closing Bonus Plan Is a Sound Exercise of the
        Debtors’ Business Judgment and Should Be Approved

        48.     Section 363 of the Bankruptcy Code provides, in relevant part, that “[t]he [debtor],

after notice and a hearing, may use, sell, or lease, other than in the ordinary course of business,

property of the estate.” 11 U.S.C. § 363(b)(1). Under this section, a court may authorize a debtor

to use property of the estate when such use has a “sound business purpose” and when the use of

the property is proposed in good faith. See In re W.A. Mallory Co., 214 B.R. 834, 836 (Bankr.

E.D. Va. 1997); In re WBQ P’ship, 189 B.R. 97, 102 (Bankr. E.D. Va. 1995).

        49.     Courts generally require a debtor to demonstrate that a valid business purpose exists

for the use of estate property in a manner that is outside the ordinary course of business. See, e.g.,

In re Lionel Corp., 722 F.2d 1063, 1070–71 (2d Cir. 1983). The debtor’s articulation of a valid

business justification raises a presumption that the debtor’s decision was made on an informed

basis, in good faith, and with the honest belief that the action is in the best interest of the company.

See In re Integrated Res., Inc., 147 B.R. 650, 656 (Bankr. S.D.N.Y. 1992). Furthermore, once “the


                                                  29
13172884 v1
              Case 20-10553-CSS          Doc 52     Filed 03/09/20     Page 30 of 37




debtor articulates a reasonable basis for its business decisions (as distinct from a decision made

arbitrarily or capriciously), courts will generally not entertain objections to the debtor’s conduct.”

In re Johns-Manville Corp., 60 B.R. 612, 616 (Bankr. S.D.N.Y. 1986). The business judgment

rule shields a debtor’s management from judicial second-guessing. See Integrated Res., 147 B.R.

at 656; Johns-Manville, 60 B.R. at 615–16 (noting that “the Code favors the continued operation

of a business by a debtor and a presumption of reasonableness attaches to a debtor’s management

decisions”). Thus, if a debtor’s actions satisfy the business judgment rule, then the actions in

question should be approved under section 363(b)(1) of the Bankruptcy Code.

        50.    In this case, the Store Closing Bonus Plan is a sound exercise of the Debtors’

business judgment and is in the best interests of the Debtors and their estates. The store

employees—along with their skills, knowledge, and hard work—are more critical now than ever.

Through their commitment and performance, they can ensure that the Debtors continue to

maximize stakeholder value in a challenging economic environment and at a time when those

employees’ positions will soon be terminated.

        51.    Additionally, the total cost of the Store Closing Bonus Plan is reasonable in light

of competitive market practice and involves compensation structures often used in other

restructuring situations to incentivize employees to continue optimal performances despite the

added stress inherent in the chapter 11 process.

        52.    The Store Closing Bonus Plan is comparable to employee incentive plans regularly

paid as “expenses of sale” by liquidating agents in other “store closing” and similar-themed sales.

As in those other instances, the specific Store Closing Bonus Plan here was devised with the input

of the Consultant based on its views of maximizing the sale process and recoveries for creditors.




                                                   30
13172884 v1
              Case 20-10553-CSS          Doc 52     Filed 03/09/20     Page 31 of 37




As such, courts have approved incentive payments similar to those contemplated by the Store

Closing Bonus Plan. See, e.g., In re Destination Maternity Corporation, No. 19-12256 (BLS)

(Bankr. D. Del. Nov. 14, 2019) (authorizing store closing retention bonus program on a final basis);

In re Z Gallerie, LLC, No. 19-10488 (LSS) (Bankr. D. Del. Apr. 9, 2019) (same); In re Toys “R”

Us, Inc., No. 17- (Bankr. E.D. Va. Feb. 6, 2018) (same); In re rue21, Inc., No. 17-22045 (GLT)

(Bankr. W.D. Pa. June 12, 2017) (same); In re Payless Holdings LLC, No. 17-42267 (KAS)

(Bankr. E.D. Mo. May 9, 2017) (same).

        53.    The Debtors respectfully submit that the Store Closing Bonus Plan is a sound

exercise of the Debtors’ business judgment and should be approved pursuant to section 363 of the

Bankruptcy Code as in the best interests of the Debtors, their estates, and all parties in interest in

these chapter 11 cases.

VII.    The Court Should Authorize the Assumption of the Consulting Agreement.

        54.    Section 365(a) of the Bankruptcy Code provides, in pertinent part, that a debtor in

possession “subject to the court’s approval, may assume or reject any executory contract . . . of the

debtor.” The standard governing bankruptcy court approval of a debtor’s decision to assume or

reject an executory contract is whether the debtor’s reasonable business judgment supports such

assumption or rejection. See, e.g., In re HQ Glob. Holdings, Inc., 290 B.R. 507, 511 (Bankr. D.

Del. 2003) (finding that debtor’s decision to assume or reject an executory contract is governed by

the business judgment standard, and that such decision may only be overturned if found to be a

product of bad faith, whim, or caprice); see also In re Market Square Inn Inc., 978 F.2d 116, 121

(3d Cir. 1992) (finding that assumption or rejection of lease “will be a matter of business judgment

by the bankruptcy court”).

        55.    The business judgment test “requires only that the trustee [or debtor in possession]

demonstrate that [assumption] or rejection of the contract will benefit the estate.”

                                                  31
13172884 v1
              Case 20-10553-CSS         Doc 52     Filed 03/09/20      Page 32 of 37




Wheeling-Pittsburgh Steel Corp. v. West Penn Power Co. (In re Wheeling-Pittsburgh Steel Corp.),

72 B.R. 845, 846 (Bankr. W.D. Pa. 1987).           Any more exacting scrutiny would slow the

administration of the debtor’s estate and increase costs, interfere with the Bankruptcy Code’s

provision for private control of administration of the estate, and threaten the court’s ability to

control a case impartially. See Richmond Leasing Co. v. Capital Bank, 762 F.3d 1301, 1311 (5th

Cir. 1985).

        56.    Assumption of the Consulting Agreement is beneficial to the Debtors’ estates, and,

therefore, is a reasonable exercise of the Debtors’ business judgment. In consultation with their

advisors, the Debtors have determined that the stores to be closed are unduly burdensome, and the

Merchandise and the M&E should be liquidated for the benefit of the Debtors’ estates and their

creditors. The Store Closings are already in progress. The Debtors determined that entering into

the Consulting Agreement, after engaging in extensive negotiations with the Consultant and their

prepetition lenders, will provide the greatest return to the Debtors’ estates for the Merchandise and

the M&E. The Debtors believe, in their business judgment, that the terms set forth in the

Consulting Agreement constitute the best available alternative for the conduct of the Store

Closings and Sales.

        57.    The Consultant has extensive expertise in conducting liquidation sales and can

oversee and assist in the management and implementation of the Store Closings in an efficient and

cost-effective manner. Assumption of the Consulting Agreement will enable the Debtors to utilize

the skills and resources of the Consultant to effectively and efficiently conduct the Store Closings

for the benefit of all stakeholders. Given the number of stores and the particular issues in

administering the Store Closings, the Debtors may not be able to retain a liquidator able to conduct

the process as efficiently and effectively as the Consultant, who already has significant experience



                                                 32
13172884 v1
               Case 20-10553-CSS        Doc 52     Filed 03/09/20     Page 33 of 37




with the Debtors’ business operations and outlay of stores. If the Consulting Agreement is not

approved, operative, and effective on an interim basis, the Store Closings would lose the benefit

of the Consultant’s oversight and might be delayed or suspended entirely, leading to a loss of

additional liquidity and increased administrative expenses. Moreover, it is imperative that the

Consulting Agreement be approved on an interim basis so that the Debtors and the Consultant can

immediately begin conducting the Store Closings and closing stores in accordance with the Store

Closing Procedures, which will generate more proceeds for the Debtors and their estates.

VIII. The Court Should Authorize the Retention of the Consultant
      Pursuant to Section 327(a) in Connection with Assumption
      of the Consulting Agreement.

         58.    The Debtors have selected the Consultant because they believe that the Consultant

has developed an expertise in such matters that will significantly enhance the value recovered for

the Assets, whether through the disposition of such through the conduct of strategic store closings

for the Merchandise and the M&E, or through targeting marketing of the other Assets through their

various divisions having an expertise in each such asset categories. Each entity comprising the

Consultant is familiar with retail businesses generally, and the Debtors’ business operations

specifically, and are well regarded and a leader in the distressed asset acquisition and disposition

field.

         59.    The Debtors believe the employment of the Consultant as asset disposition

consultants and advisors is in the best interest of the Debtors and their creditors since the

Consultant will provide invaluable services as the Debtors attempt to maximize the realizable value

recovered for its business and assets. The matters for which the Consultant is to be engaged are

matters in which no other professional employed in this case will render services duplicative of

the services rendered by the Consultant.



                                                 33
13172884 v1
              Case 20-10553-CSS          Doc 52     Filed 03/09/20      Page 34 of 37




        60.    Based on the information the Consultant has to date provided to the Debtors, the

Debtors believe that the Consultant does not hold an interest adverse to either the Debtors or their

estates, and with respect to the subject matter on which the Consultant has been engaged is a

“disinterested person” pursuant to sections 327(a) and 101(14) of the Bankruptcy Code.

        61.    As is customary in this district, each entity comprising the Consultant will file

declarations of their connections prior to the final hearing on this Motion (the “Consultant’s

Declarations”).

        62.    To the best of the Debtors’ knowledge, and except as may be disclosed in the

respective Consultant Declarations when filed, the Consultant has not provided services to the

Debtors’ creditors, equity security holders, or any other parties-in-interest, or its respective

attorneys, in any matter relating to the Debtors or their estates.

        63.    The Debtors respectfully requests that the Consultant be retained in conjunction

with the Court’s approval of the assumption of the Consulting Agreement, nunc pro tunc to the

Petition Date. Since the Petition Date, the Consultant has provided valuable services that were

time sensitive and critical to protection of the interests of the Debtors’ stakeholders.

                  The Requirements of Bankruptcy Rule 6003 Are Satisfied
        64.    Bankruptcy Rule 6003 empowers a court to grant relief within the first 21 days after

the Petition Date “to the extent that relief is necessary to avoid immediate and irreparable harm.”

Fed. R. Bankr. P. 6003. For the reasons discussed above, authorizing the Debtors reject certain

unexpired leases, approving store closing or similar themed sales in accordance with the Store

Closing Procedures, and granting the other relief requested herein is integral to the Debtors’ ability

to transition their operations into these chapter 11 cases smoothly. Failure to receive such

authorization and other relief during the first 21 days of these chapter 11 cases would severely

disrupt the Debtors’ operations at this critical juncture. For the reasons discussed herein, the relief

                                                  34
13172884 v1
              Case 20-10553-CSS          Doc 52      Filed 03/09/20      Page 35 of 37




requested is necessary in order for the Debtors to operate their business in the ordinary course,

preserve the going concern value of the Debtors’ operations, and maximize the value of their

estates for the benefit of all stakeholders. Accordingly, the Debtors submit that they have satisfied

the “immediate and irreparable harm” standard of Bankruptcy Rule 6003 to support granting the

relief requested herein.

                                       Reservation of Rights

        65.    Nothing contained in this Motion or any actions taken by the Debtors pursuant to

relief granted in the Interim Order and Final Order is intended or should be construed as: (a) an

admission as to the validity, priority, or amount of any particular claim against a Debtor entity;

(b) a waiver of the Debtors’ or any other party-in-interest’s rights to dispute any particular claim

on any grounds; (c) a promise or requirement to pay any particular claim; (d) an implication or

admission that any particular claim is of a type specified or defined in this Motion; (e) a request

or authorization to assume any agreement, contract, or lease pursuant to section 365 of the

Bankruptcy Code (other than the Consulting Agreement); (f) a waiver or limitation of the Debtors’

or any other party-in-interest’s rights under the Bankruptcy Code or any other applicable law; or

(g) a concession by the Debtors or any other party-in-interest that any liens (contractual, common

law, statutory, or otherwise) satisfied pursuant to this Motion are valid and the Debtors and all

other parties-in-interest expressly reserve their rights to contest the extent, validity, or perfection,

or to seek avoidance of all such liens. If the Court grants the relief sought herein, any payment

made pursuant to the Court’s order is not intended and should not be construed as an admission as

to the validity, priority, or amount of any particular claim or a waiver of the Debtors’ or any other

party-in-interest’s rights to subsequently dispute such claim.




                                                  35
13172884 v1
               Case 20-10553-CSS        Doc 52     Filed 03/09/20      Page 36 of 37




                        Waiver of Bankruptcy Rule 6004(a) and 6004(h)

        66.     To implement the foregoing successfully, the Debtors request that the Court enter

an order providing that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a) and

that the Debtors have established cause to exclude such relief from the 14-day stay period under

Bankruptcy Rule 6004(h).

                                               Notice

        67.     The Debtors will provide notice of this Motion to: (a) the Office of the U.S. Trustee

for the District of Delaware; (b) the holders of the 30 largest unsecured claims against the Debtors

(on a consolidated basis); (c) the United States Attorney’s Office for the District of Delaware;

(d) the Internal Revenue Service; (e) the state attorneys general for all states in which the Debtors

conduct business; (f) the Dispute Notice Parties; (g) all of the Debtors’ landlords at the locations

of the Closing Stores, and counsel thereto, if known; and (h) any party that requests service

pursuant to Bankruptcy Rule 2002. The Debtors submit that, in light of the nature of the relief

requested, no other or further notice need be given.

                                         No Prior Request

        68.     No prior request for the relief sought in this Motion has been made to this or any

other court.



                                [Remainder of page intentionally left blank]




                                                 36
13172884 v1
              Case 20-10553-CSS          Doc 52     Filed 03/09/20      Page 37 of 37




        WHEREFORE, the Debtors respectfully request entry of interim and final orders,

substantially in the forms attached hereto as Exhibit A and Exhibit B, respectively, (a) granting

the relief requested herein and (b) granting such other relief as is just and proper.


Dated: March 9, 2020                           BENESCH, FRIEDLANDER, COPLAN &
Wilmington, Delaware                           ARONOFF LLP

                                                   /s/ Gregory W. Werkheiser
                                               Gregory W. Werkheiser (DE No. 3553)
                                               Michael J. Barrie (DE No. 4684)
                                               Jennifer Hoover (DE No. 5111)
                                               Kevin Capuzzi (DE No. 5462)
                                               John C. Gentile (DE No. 6159)
                                               222 Delaware Avenue, Suite 801
                                               Wilmington, DE 19801
                                               Telephone: (302) 442-7010
                                               Facsimile: (302) 442-7012
                                               E-mail: gwerkheiser@beneschlaw.com
                                                       mbarrie@beneschlaw.com
                                                       jhoover@beneschlaw.com
                                                       kcapuzzi@beneschlaw.com
                                                       jgentile@beneschlaw.com

                                               Proposed Counsel to the Debtors and Debtors in
                                               Possession




13172884 v1
